          Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 1 of 11




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 7   Facsimile:        213.629.1033
 8   Attorneys for Defendant Continental Exchange Solutions, Inc.,
     d/b/a Ria Financial Services and AFEX Money Express
 9

10                               UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                       OAKLAND DIVISION

13   NELSON SEQUIERA, ORSAY ALEGRIA                       Case No. 4:22-cv-07996-HSG
     and ISMAEL CORDERO, individually and on
14   behalf of all others similarly situated,             Assigned to Hon. Haywood S. Gilliam, Jr.
15                        Plaintiffs,                     NOTICE OF ERRATA REGARDING
              v.                                          DEFENDANT CONTINENTAL
16                                                        EXCHANGE SOLUTIONS, INC.’S
     U.S. DEPARTMENT OF HOMELAND                          SECOND REQUEST FOR JUDICIAL
17   SECURITY; U.S. IMMIGRATION &                         NOTICE IN SUPPORT OF MOTION TO
     CUSTOMS ENFORCEMENT; WESTERN                         DISMISS
18   UNION FINANCIAL SERVICES, INC., a
     Colorado corporation; CONTINENTAL
19   EXCHANGE SOLUTIONS, INC., a Kansas
     corporation, d/b/a RIA FINANCIAL                     Action Filed: December 12, 2022
20   SERVICES and AFEX MONEY EXPRESS;                     Trial Date: None Set
     VIAMERICAS CORPORATION, a Delaware
21   Corporation; and DOLEX DOLLAR
     EXPRESS, INC., a Texas corporation,
22
                          Defendants.
23

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          NOTICE OF ERRATA REGARDING DEFENDANT CONTINENTAL EXCHANGE SOLUTIONS, INC.’S
                               SECOND REQUEST FOR JUDICIAL NOTICE
                                     Case No. 4:22-cv-07996-HSG
     4893-5666-0363.v1
          Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 2 of 11




 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

 2            PLEASE TAKE NOTICE that Exhibit A to the Second Request for Judicial Notice filed by

 3   Defendant Continental Exchange Solutions, Inc., d/b/a Ria Financial Services and AFEX Money

 4   Express (“Continental”) on October 25, 2023 inadvertently included a cover letter to the subpoena

 5   dated July 7, 2023 signed by Arizona Attorney General Kris Mayes. Continental is not seeking judicial

 6   notice of this letter and Plaintiffs did not stipulate to Continental including the letter in the Second

 7   Request for Judicial Notice.

 8            A true and correct copy of Continental’s AMENDED SECOND REQUEST FOR JUDICIAL

 9   NOTICE removing this cover letter is attached hereto as Exhibit 1. No other changes have been made

10   in the amended document.

11
      Dated: October 26, 2023                     PILLSBURY WINTHROP SHAW PITTMAN LLP
12

13                                          By:
                                                  /s/ Robert L. Wallan
                                                  ROBERT L. WALLAN
14                                                NATHAN M. SPATZ
                                                  CHRISTOPHER M. BUTLER
15                                                JORDAN RHODES
16                                                Attorneys for Defendant CONTINENTAL
                                                  EXCHANGE SOLUTIONS, INC., d/b/a RIA
17                                                FINANCIAL SERVICES AND AFEX MONEY
                                                  EXPRESS
18

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          NOTICE OF ERRATA REGARDING DEFENDANT CONTINENTAL EXCHANGE SOLUTIONS, INC.’S
                               SECOND REQUEST FOR JUDICIAL NOTICE
                                     Case No. 4:22-cv-07996-HSG
     4893-5666-0363.v1
Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 3 of 11




                Exhibit 1
          Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 4 of 11




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 7   Facsimile:        213.629.1033
 8   Attorneys for Defendant Continental Exchange Solutions, Inc.,
     d/b/a Ria Financial Services and AFEX Money Express
 9

10                               UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                       OAKLAND DIVISION

13   NELSON SEQUIERA, ORSAY ALEGRIA                       Case No. 4:22-cv-07996-HSG
     and ISMAEL CORDERO, individually and on
14   behalf of all others similarly situated,             Assigned to Hon. Haywood S. Gilliam, Jr.
15                        Plaintiffs,                     DEFENDANT CONTINENTAL
              v.                                          EXCHANGE SOLUTIONS, INC.’S
16                                                        AMENDED SECOND REQUEST FOR
     U.S. DEPARTMENT OF HOMELAND                          JUDICIAL NOTICE IN SUPPORT OF
17   SECURITY; U.S. IMMIGRATION &                         MOTION TO DISMISS
     CUSTOMS ENFORCEMENT; WESTERN
18   UNION FINANCIAL SERVICES, INC., a
     Colorado corporation; CONTINENTAL
19   EXCHANGE SOLUTIONS, INC., a Kansas                   Action Filed: December 12, 2022
     corporation, d/b/a RIA FINANCIAL                     Trial Date: None Set
20   SERVICES and AFEX MONEY EXPRESS;
     VIAMERICAS CORPORATION, a Delaware
21   Corporation; and DOLEX DOLLAR
     EXPRESS, INC., a Texas corporation,
22
                          Defendants.
23

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                         DEFENDANT CONTINENTAL EXCHANGE SOLUTIONS, INC.’S
                            AMENDED SECOND REQUEST FOR JUDICIAL NOTICE
                                      Case No. 4:22-cv-07996-HSG
     4857-2701-5051.v1
          Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 5 of 11




 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

 2            For the reasons set forth below, Defendant Continental Exchange Solutions, Inc., d/b/a Ria

 3   Financial Services and AFEX Money Express (“Continental”) respectfully requests that the Court take

 4   judicial notice of the following document, which is attached hereto as follows:

 5            1.         Exhibit A is a true and correct copy of a 2023 subpoena issued on June 23, 2023, by

 6   the Arizona Office of the Attorney General (“Attorney General”) to Continental. The subpoena

 7   commands records for “all transactions that have a value of $500 or greater and that meet any one of

 8   the following criteria: (1) [o]riginate in the Southwest Border (including the states of Arizona,

 9   California, New Mexico and Texas); (2) [o]riginate in the Country of Mexico; (3) [a]re paid out in the

10   Southwest Border (including the states of Arizona, California, New Mexico and Texas); or (4) [a]re

11   paid out in the country of Mexico.” The subpoena further commands that “records be provided on a

12   bi-weekly schedule, or as soon as practicable beginning with July 1, 2023, and ending with June 30,

13   2024.” The subpoena states: “This is a felony investigation. Either warning another person of

14   impending felony prosecution or suppressing physical evidence … are each separate felonies. A.R.S.

15   § 13-2510(2) and (5); § 13-2512.” The subpoena also states that the subpoena is issued pursuant to the

16   Attorney General’s lawful duty to investigate racketeering and “[y]our failure to comply in full with

17   this request will subject you to the proceedings provided by A.RS. § 13-2315(B).”

18            Rule 201 of the Federal Rules of Evidence provides that “[t]he court may judicially notice a

19   fact that is not subject to reasonable dispute because it . . . can be accurately and readily determined
     from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). “Judicially
20
     noticed facts often consist of matters of public record.” Celebrity Chefs Tour, LLC v. Macy’s, Inc.,
21
     2014 WL 12160745, at *1 (S.D. Cal. Sept. 19, 2014) (citations and internal quotations omitted). “The
22
     court may take judicial notice at any stage of the proceeding.” Fed. R. Evid. 201(d). “[A] court may
23   take judicial notice of matters of public record without converting a motion to dismiss into a motion
24   for summary judgment.” Khoja v. Orexigen Therapeutics, Inc., 899 F3d 988, 999 (9th Cir. 2018)
25   (internal citations omitted).

26            Courts may also “take judicial notice of proceedings in other courts, both within and without
     the federal judicial system, if those proceedings have a direct relation to the matters at issue.” U.S. ex
27
     rel. Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992) (citations
28
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                              DEFENDANT CONTINENTAL EXCHANGE SOLUTIONS, INC.’S
                                 AMENDED SECOND REQUEST FOR JUDICIAL NOTICE
                                           Case No. 4:22-cv-07996-HSG
     4857-2701-5051.v1
          Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 6 of 11




 1   and internal quotations omitted). It follows that “[c]ourts may take judicial notice of the fact of service

 2   and response to subpoenas.” United States v. TruConnect, No. CV163767PSGFFMX, 2020 WL
     13534177, at *3 (C.D. Cal. Nov. 23, 2020) (citing Klein v. Mony Life Ins. Co. of Am., No. CV 17-
 3
     07003-RSWL-AS, 2018 WL 2472916, at *3 (C.D. Cal. May 30, 2018)); Gallagher v. United States,
 4
     No. 17-CV-00586-MEJ, 2017 WL 4390172, at *3 (N.D. Cal. Oct. 3, 2017) (granting request to take
 5
     judicial notice of subpoena and response to subpoena).
 6            Continental makes this request on the grounds that the foregoing document is a subpoena
 7   issued by the Arizona Attorney General. See United States v. TruConnect, at *3. The existence and
 8   content of the above-referenced document is not subject to reasonable dispute because it is capable of

 9   accurate and ready determination by resort to resources the accuracy of which cannot be reasonably
     questioned. See Fed. R. Evid. 201(b).
10
              Because judicial notice of the above document is proper under the Federal Rules of Evidence,
11
     Continental respectfully requests that this Court take judicial notice of Exhibit A attached hereto.
12

13

14    Dated: October 26, 2023                       PILLSBURY WINTHROP SHAW PITTMAN LLP

15
                                             By: /s/ Robert L. Wallan
16                                               ROBERT L. WALLAN
                                                 NATHAN M. SPATZ
17                                               CHRISTOPHER M. BUTLER
                                                 JORDAN RHODES
18
                                                 Attorneys for Defendant CONTINENTAL EXCHANGE
19                                               SOLUTIONS, INC., d/b/a RIA FINANCIAL SERVICES
                                                 AND AFEX MONEY EXPRESS
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                           DEFENDANT CONTINENTAL EXCHANGE SOLUTIONS, INC.’S
                              AMENDED SECOND REQUEST FOR JUDICIAL NOTICE
                                        Case No. 4:22-cv-07996-HSG
     4857-2701-5051.v1
Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 7 of 11




                Exhibit A
        Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 8 of 11




                                                        STATE OF ARIZONA
                                                        OFFICE OF ATTORNEY GENERAL
                                                        2005 North Central Avenue
                                                        Phoenix, Arizona 85004
                                                        (602) 542-8431




                        REQUEST TO PRODUCE RECORDS


Continental Exchange Solutions, Inc. and RIA Financial Services
6565 Knott Avenue
Buena Park, CA 90620
Attn: Ms. Manpreet Goraya


YOU ARE HEREBY COMMANDED, pursuant to A.R.S. § 13-2315, to produce for
examination and copying by the Attorney General of the State of Arizona the following
described records:

Data, including the data fields described in the updated attached Data Appendix, for all
transactions that have a value of $500 or greater and that meet any one of the following criteria:

                1.   Originate in the Southwest Border (including the states of Arizona, California,
                     New Mexico and Texas);
               2.    Originate in the Country of Mexico;
               3.    Are paid out in the Southwest Border (including the states of Arizona,
                     California, New Mexico and Texas); or
               4.    Are paid out in the country of Mexico.

The data shall be provided on a bi-weekly schedule or as soon as practicable as each such
period becomes available, beginning with July 1, 2023, and ending with June 30, 2024.
PLEASE TAKE NOTICE OF THE UPDATED DATA APPENDIX. FOR THE DATA
FIELD RELATED TO THE SUBPOENA IDENTIFICATION NUMBER, PLEASE
INCLUDE REFERENCE NUMBER:                AZAG2023RTP.

The data is to be delivered electronically to the Arizona Attorney General's Office by delivery to
its secure file share   available at:   hitos://ileshare.azag.govifiledrop/~ZeQ9or.

When uploading a file, input your contact email address in the “From” box, Subpoena
       Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 9 of 11




number in the “Subject” box, and the date range of transactions within the file in the
“Message” box. Then click “add files.” Once your file(s) is selected choose “Send.”

       All information about transaction details must be contained in one, consolidated
table and should only contain completed (sent and paid) transactions. The database is
to exclude Commercial Payment (customers paying bills to corporations and businesses
and business sending to employees or customers) transactions. A data dictionary
should also be provided including a definition of each field, both of its formatting
characteristics and plain-English meaning. All fields which are “coded”, “lookups” or are
abbreviations require the descriptions (full verbose values) to also be provided,
including but not limited to country codes and identification types.

       This request is made in connection with the lawful performance of my official
duties as an Assistant Attorney General of the State of Arizona, in order to investigate
racketeering as defined by A.R.S. § 13-2301(D){4) or a violation of A.R.S. § 13-2312.
Your failure to comply in full with this request will subject you to the proceedings
provided by A.R.S. § 13-2315(B).

       NOTICE:   This is a felony investigation.              Either warning another person of
impending felony prosecution or suppressing physical evidence by concealment,
alteration or destruction in a felony investigation are each separate felonies. A.R.S. §
13-2510(2) and (5); § 13-2512.

       Please contact the Arizona Attorney General’s Office through its Chief Special
Agent James Cope at james.cope@azag.gov for any questions regarding production of
this request.

                                             a


                                    ” Shawn Steinberg
                                 Assistant Attorney General
                            Arizona Attorney General’s Office


                                                               , ove
                                                              id)
SUBSCRIBED AND SWORN             to before me this oe day of June, 2023.




                                     Wd              . Rodman
                                           Notary Public                ©

My Commission expires                     AS.    RODRIGUEZ
                                     Notary Public - State of Arizona
                                        MARICOPA COUNTY
                                        Commission # 593672
                                      Expires December @, 2024
            Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 10 of 11




DATA APPENDIX AS LINE ITEMS (any new requested data fields are highlighted)

            Subpoena Identification Number
     WN >

            Money Transfer Control Number
 CONOR


            Record date & time
            Pay date & time
            Principal
            Licensed or authorized delegate name
            Sending operator name and/or identification number
       Paying operator name
       Sending agent number
   10. Sending agent name
   11.Sending agent address
    12.Sending agent city
    13.Sending Agent State
    14.Sending agent zip code
    15. If applicable, sending bank name
    16.lf applicable, sending bank account holder name
    17.If applicable, sending bank account number (please provide last 6 account
        numbers)
    18.Paying agent number
   19.Paying agent name                                                            .
   20.Paying agent address
   21.Paying agent city
   22.Paying agent state
   23.Paying agent zip code
   24.Sending currency
   25. Paying currency
   26.Sending country
   27.Paying country
   28.Sender name
   29.Sender address
   30. Sender city
   31.Sender state
   32. Sender zip
   33. Sender phone
   34.Sender DOB
   35. Sender occupation
   36. Sender identification type
   37.Sender identification type description
   38. Sender identification issuer
   39. Sender identification number


   42. Payee name
   43.Payee address
   44. Payee city
   Case 4:22-cv-07996-HSG Document 115 Filed 10/26/23 Page 11 of 11




45. Payee state
46.Payee zip
47.Payee phone
48.Payee DOB
49. Payee occupation
50. Payee   identification type
51.Payee    identification type description
52. Payee   identification issuer
53. Payee   identification number
            SSN   (ID2

56. If applicable, payee bank name
57.|f applicable, payee account hoider name
58. lf applicable, payee bank account number if applicable (please provide last 6
   account numbers)
59.Sender Email Address used to create web based account
60. Sender Email Address used to send transaction
61.Sender Included reasons for transaction (if any)
